            Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA


AIR FORCE OFFICER,                                   )
                                                     )         Case No.
                       Plaintiff,                    )
v.                                                   )
                                                     )
LLOYD J. AUSTIN, III, individually and in his )
official capacity as Secretary of Defense;           )
FRANK KENDALL, III, individually and in his )
official capacity as Secretary of the Air Force; and )
ROBERT I. MILLER, individually and in his            )
official capacity as Surgeon General of the          )
Air Force,                                           )
                                                     )
                       Defendants.                   )


                           DECLARATION OF AIR FORCE OFFICER

       Pursuant to 28 U.S.C. § 1746, I, Air Force Officer, under penalty of perjury declare as

follows:

       1.         I am over the age of eighteen and am competent to make this declaration.

       2.         For more than 25 years, I have served my country in the United States Air Force.

       3.         The military has awarded me more than 20 medals including the Defense

Meritorious Service Medal, Meritorious Service Medals, the Air Force Commendation Medal,

and Air Force Achievement Medals, among others.

       4.         The Air Force has never disciplined me, and has never had cause to discipline me,

for any reason.

       5.         For years, I have served in an administrative position in the Air Force Reserves.

       6.         My position is not one that would be tasked to deploy or that engages in physical

military operations.




                                                   1
            Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 2 of 7




       7.         I am both a military employee and a federal civilian employee, and in both

capacities I am based at Robins Air Force Base in Georgia.

       8.         At various times in my career, I have worked remotely.

       9.         Over my years of service, I have held key positions of responsibility,

implemented critical health and safety programs, educated and developed numerous other

leaders, and built trust and goodwill among fellow service members, all in the interest of military

readiness, unit cohesion, good order, discipline, health, and safety.

       10.        When the military in 2020 began imposing COVID-19 restrictions on personnel—

including masking, social distancing, and working remotely—I followed and led others to follow

these policies.

       11.        I have consistently and fully supported and sustained Defendants’ interest in

military readiness, unit cohesion, good order, discipline, health, and safety.

       12.        My professional responsibilities do not involve personal engagement in physical

operations or require extremely close proximity with other service members at all times.

       13.        Though some of my managerial duties may at times be facilitated by physical

proximity to my colleagues, I have a history of working successfully with my team during times

of the strictest of COVID-19 restrictions.

       14.        In December 2020, I contracted COVID-19 and fully recovered.

       15.        In January 2021, I took a COVID-19 antibody test and tested positive for COVID-

19 antibodies.

       16.        Eleven months later, in December of 2021, I took another COVID-19 antibody

test and again tested positive for COVID-19 antibodies.

       17.        I am a Christian.




                                                   2
         Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 3 of 7




       18.     As a Christian, I believe that abortion is a grave evil and contrary to my faith.

       19.     I believe that receiving a vaccine that was derived from or tested on aborted fetal

tissue in its development would violate my conscience and is contrary to my faith.

       20.     I understand that all of the COVID-19 vaccines currently available were derived

from or tested on (as part of their development) aborted fetal tissue. For this reason, I am

unwilling to receive one of the COVID-19 vaccines currently available.

       21.     I am not an “anti-vaxxer.” I do not oppose all vaccines.

       22.     I oppose the currently available COVID-19 vaccines because of their connection

to abortion.

       23.     In accordance with my faith, I believe that my “body is the temple of the Holy

Spirit” (1 Cor. 6:19-20), and that injection with a novel substance of unknown long-term effects

would violate this belief.

       24.     I am aware of these orders that purportedly affect me (“Mandates”):

               a.      Department of Defense’s August 24, 2021 Order (attached as Exhibit 1);

               b.      Department of Air Force’s September 3, 2021 Order (attached as Exhibit

                       2);

               c.      President Biden’s September 9, 2021 Executive Order 14043 (attached as

                       Exhibit 3);

               d.      Department of Air Force’s September 21, 2021 Order (attached as Exhibit

                       4);

               e.      Department of Defense’s October 1, 2021 Order (attached as Exhibit 5);

                       and

               f.      Air Force’s October 8, 2021 Order (attached as Exhibit 6).




                                                 3
         Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 4 of 7




       25.     I am aware of AFI 48-110 (attached as Exhibit 7), an Air Force Instruction.

       26.     The Air Force provided me and other service members with form religious

accommodation requests (attached as Exhibits 8-9).

       27.     The Air Force informed me and other unvaccinated service members that a

“request” for religious accommodation “may have an adverse impact” on “deployability,

assignment and/or international travel” (see Exhibit 9).

       28.     I timely sought, in writing, religious exemption from the Mandates and sought

accommodation (attached as Exhibit 10 (military request submitted October 13, 2021), Exhibit

11 (military appeal submitted October 29, 2021), and Exhibit 12 (civilian request submitted

November 8, 2021)) (“Accommodation Requests”).

       29.     Defendants’ responses to my military Accommodation Requests are attached as

Exhibit 13 (military initial denial received by me on October 27, 2021) and Exhibit 14 (military

final denial received by me on December 6, 2021).

       30.     Based on information publicly available from the Air Force (including

https://www.af.mil/News/Article-Display/Article/2831845/daf-covid-19-statistics-jan-4-2022/), I

understand the Air Force has not granted any religious accommodation requests to anyone.

       31.     Based on information publicly available from the Air Force (including

https://www.af.mil/News/Article-Display/Article/2831845/daf-covid-19-statistics-jan-4-2022/), I

understand the Air Force has granted at least 1,792 medical accommodations.

       32.     Based on information publicly available from the Air Force (including

https://www.af.mil/News/Article-Display/Article/2831845/daf-covid-19-statistics-jan-4-2022/), I

understand the Air Force has granted at least 2,177 administrative accommodations.




                                                 4
           Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 5 of 7




        33.     Based on information publicly available from the Air Force (including

https://www.af.mil/News/Article-Display/Article/2831845/daf-covid-19-statistics-jan-4-2022/), I

understand at least 95.7% of Air Force service members have received COVID-19 vaccinations.

        34.     Based on information publicly available from the Navy (including

https://www.navy.mil/US-Navy-COVID-19-Updates/), I understand the Navy has not granted

any religious accommodation requests to anyone and has granted at least 250 medical

accommodations and at least 105 administrative accommodations.

        35.     I am not aware of any military branch (including the Air Force, Navy, Army, and

Marines) granting any religious accommodation requests, and I’m familiar with media reports

(including https://www.nytimes.com/2021/11/02/us/politics/vaccine-military-army.html) that

state that the military has not granted any.

        36.     After I received the final denial of my military request for accommodation

(Exhibit 13), the Air Force gave me five days to make an extremely difficult choice among three

options: “(1) take the vaccine,” “(2) submit retirement request if eligible” with retirement

effective in the spring of 2022, or “(3) refuse vaccine in writing.” The Air Force further

informed me that “refusal to receive the vaccine… may be punishable under the Uniform Code

of Military Justice (UCMJ)” and that “[c]ontinued refusal will result in involuntary reassignment

to the IRR [Individual Ready Reserve].” See communications I received from the Air Force at

Exhibit 15. Reassignment to the IRR typically is without pay, benefits, or regular

responsibilities.

        37.     I want to continue my work, but, faced with the three limited options, on

December 11, 2021, I chose, under protest, early retirement with an effective date in the spring

of 2022.




                                                 5
         Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 6 of 7




       38.     Based on information I received from the military, the effective date of my

retirement may be May 1, 2022 or June 1, 2022 (spring of 2022); the exact date has not been

made clear to me.

       39.     I was and am willing to perform my work at the highest level and to take regular

COVID-19 tests, wear a mask, socially distance, and work remotely as appropriate.

       40.     Until the putative effective date of my forced early retirement in the spring of

2022, and pending adjudication of my civilian request for accommodation (Exhibit 12), as a

military service member I am still permitted to work on the base and to perform my normal work

duties—still unvaccinated—provided I take regular COVID-19 tests when working in-person at

the base, test negative, wear a mask, and socially distance.

       41.     During the period since December 11, 2021, I have worked on the base and

performed my normal work duties. During this time I have taken COVID-19 tests, worn a mask,

and socially distanced.

       42.     As an officer in my position, I understand that service members with approved

medical accommodations are permitted to work in person, indefinitely, with no forced early

retirement or other adverse employment consequences.

       43.     By refusing to take the COVID-19 vaccine, being forced into early retirement,

and losing my Air Force position, I stand to lose more than a million dollars in salary and

benefits. I had planned to rely on this compensation in retirement in due course.

       44.     While the military has issued a final denial (Exhibit 14) of my military requests

for accommodation (Exhibits 10-11), my civilian request for accommodation (Exhibit 12) is still

pending. I have not been told when a ruling on the civilian request will be issued and understand

it could be issued any day. I have been advised that there is no opportunity to appeal a civilian




                                                 6
           Case 5:22-cv-00009-TES Document 2-2 Filed 01/06/22 Page 7 of 7




denial, unlike the military denial, so an initial civilian denial is considered final. I expect the Air

Force will deny the civilian request, because, I understand, Defendants have denied all COVID-

19 vaccine religious accommodation requests of all service members including my own military

request.

       45.     The military has not informed me what the impact of a denial of the civilian

request would have on my employment which is both military and civilian, including whether I

will be separated immediately or whether the terms of forced early retirement in the spring of

2022 will apply.

       46.     Fidelity to my sincerely held religious beliefs is more important to me than my

job and compensation.

       47.     The Mandates have lowered my morale as a service member, because they have

forced me to choose between my sincerely held religious beliefs and my livelihood. I personally

know other Air Force service members who have expressed to me that the Mandates have

lowered their morale for the same reasons.

       48.     Some of the attached exhibits are redacted to remove some personal identifiers.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

January 6th , 2022.



                                               /s/ Air Force Officer
                                               Air Force Officer




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